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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

SYMBOLOGY INNOVATIONS LLC,        )
                                  )
    Plaintiff,                    )
                                  ) C.A. NO. 1:18-cv-01615-MN
    v.                            )
                                  )
PACKAGING CORPORATION OF AMERICA, ) JURY TRIAL DEMANDED
                                  )
    Defendant.                    )

               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

             Pursuant to Federal Rule of Civil Procedure 41(a)(1), Plaintiff Symbology

Innovations LLC hereby dismisses this action with prejudice. According to Rule 41(a)(1), an

action may be dismissed by the plaintiff without order of court by filing a notice of dismissal at

any time before service by the adverse party of an answer. Defendant has not yet answered the

Complaint.    Accordingly, Plaintiff voluntarily dismisses this action against Defendant with

prejudice pursuant to Rule 41(a)(1)

 Dated: January 3, 2019                        Respectfully Submitted,

                                               DEVLIN LAW FIRM LLC

                                               /s/ Timothy Devlin
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                                             ATTORNEYS FOR PLAINTIFF
                                             SYMBOLOGY INNOVATIONS LLC




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing

document has been served on January 3, 2019, to all counsel of record who are deemed to have

consented to electronic service via the Court's CM/ECF system per Local Rule CV-5(a)(3).

                                     /s/ Timothy Devlin
                                   Timothy Devlin (#4241)




                     IT IS SO ORDERED this ____ day of __________ 2019.



                                           _______________________________
                                           UNITED STATES DISTRICT JUDGE
